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Attorneys for Plaintiff UC-JGZ(DTF)
UNITED STATES DISTRICT COURT | To
DISTRICT OF ARIZONA
United States of America, )
) INDICTMENT
Plaintiff, )
) Violations: 18 USC 1153, 113(a)(3)
Vv. ) (Assault with a Dangerous Weapon)
) Count I
James Seota -Felix )
) 18 U.S.C. 1153, 113(a)(6)
Defendants. ) (Assault / Serious Bodily Injury)
) Count II
1
ViCTIM CASE
THE GRAND JURY CHARGES:
COUNT ONE

On or about June 27, 2019, in the District of Arizona, within the confines of
Tohono O'odham Reservation, Indian Country, Defendant, James Seota-Felix, an Indian
member of the Tohono O’odham Nation, did intentionally and knowingly assault victim,
S.R., an Indian and member of the Tohono O’odham Nation, with a dangerous weapon,
that is a knife, with intent to do bodily harm.

In violation of Title 18 United States Code Sections 1153 and 113(a)(3).

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COUNT TWO
On or about June 27, 2019, in the District of Arizona, within the confines of
Tohono O'odham Reservation, Indian Country, Defendant, James Seota-Felix, an Indian
member of the Tohono O’odham Nation, did intentionally, knowingly and recklessly
assault victim, S.R., an Indian and member of the Tohono O’odham Nation, resulting in

serious bodily injury, to wit: deep lacerations across the face and to the body.

In violation of Title 18 United States Code Sections 1153 and 113(a)(6).

A TRUE BILL
Is!
Presiding Juror
P=SDACTED FOR
MICHAEL BAILEY PUBLIC DISCLOSURE
United States Attorney
District of Arizona
Isl

Assistant U.S. Attorney

SEP 0 4 208

